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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


                US DOMINION, INC., et al.,                     )
                             Plaintiff                         )
                                v.                             )      Case No. 1:21-cv-02130-CJN
           HERRING NETWORKS, INC., et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Third-Party Defendant AT&T Services, Inc.                                                                     .


Date:          04/06/2023                                                                /s/ Howard Hogan
                                                                                         Attorney’s signature


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